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 8                          IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                ) 2:15-mj-00202-KJN-1
                                              )
12                 Plaintiff,                 ) ORDER TO SHOW CAUSE AND ORDER
                                              ) TO ISSUE SUMMONS RE: PROBATION
13          v.                                ) REVOCATION
                                              )
14   HUNTER J. LAY,                           )
                                              )
15                 Defendant.                 )
                                              )
16                                            )
                                              )
17

18                          ORDER TO SHOW CAUSE AND ISSUE SUMMONS

19          It is Hereby Ordered that the defendant shall appear on May 11,

20   2016, at 9:00 a.m. to show cause why the probation granted on January

21   11, 2016, should not be revoked for the defendant’s failure to comply

22   with his Court-ordered probation.

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28   ///


     ORDER TO SHOW CAUSE                                           U.S. v. HUNTER J. LAY
              Case 2:15-mj-00202-KJN Document 24 Filed 04/14/16 Page 2 of 2


 1          It is further ordered that the Clerk’s office shall issue a

 2   summons directing the defendant to appear on May 11, 2016, at 9:00

 3   a.m.

 4          IT IS SO ORDERED.

 5

 6   Dated: April _12_, 2016
                                         _______                     ___
 7                                       Hon. Kendall J. Newman
                                         United States Magistrate Judge
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     ORDER TO SHOW CAUSE                                           U.S. v. HUNTER J. LAY
